          Case 3:22-cv-03580-WHO Document 355 Filed 10/24/23 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                    RELATED CASE ORDER


        A Motion for Administrative Relief to Consider Whether Cases Should be Related or a
Sua Sponte Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been
filed. The time for filing an opposition or statement of support has passed. As the judge assigned
to case
        22-cv-03580-WHO
        In Re Meta Pixel Healthcare Litigation v.
       I find that the more recently filed case that I have initialed below is related to the case
assigned to me, and such case shall be reassigned to me.


 Case                Title                                            Related Not Related
 23-cv-04179-JST C. M. v. MarinHealth Medical Group, Inc. WHO


                                               ORDER
         The parties are instructed that all future filings in any reassigned case are to bear the
initials of the newly assigned judge immediately after the case number. Any case management
conference in any reassigned case will be rescheduled by the Court. The parties shall adjust the
dates for the conference, disclosures and report required by FRCivP 16 and 26 accordingly.
Unless otherwise ordered, any dates for hearing noticed motions are vacated and must be re-
noticed by the moving party before the newly assigned judge; any deadlines set by the ADR Local
Rules remain in effect; and any deadlines established in a case management order continue to
govern, except dates for appearance in court, which will be rescheduled by the newly assigned
judge.




Dated: October 24, 2023                            By:
                                                         William H. Orrick
                                                         United States District Judge




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